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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

ANTONIO BABIN DE JESUS,
    Plaintiff,
                                                       Civil No. 15-2231 (BJM)
       v.

CONFESOR LASALLE RUIZ, et al.,
    Defendants.


                                  OPINION AND ORDER
       Plaintiff Antonio Babin de Jesus seeks to recover an unpaid balance of $137,000 on a

contract he entered into with defendants Confesor LaSalle Ruiz, Diana Nieves Curbelo, and

Conjugal Partnership LaSalle-Nieves (collectively “defendants”). Docket No. 25 at 1–2. There is

one hurdle, however: Antonio Babin, through his sister, amended the contract, agreeing to accept

only $50,000 for the unpaid balance. Docket No. 25 at 4–5. Undeterred, Babin claims the amended

contract is void for lack of consideration and duress. Id. 1 Defendants disagree and move for

summary judgment. See Docket No. 68. Antonio Babin opposed. Docket Nos. 75. This case is

before me on consent of the parties. Docket No. 33. For the reasons laid out below, defendants’

motion for summary judgment is GRANTED.

                                 SUMMARY JUDGMENT STANDARD
       Summary judgment is appropriate when “the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). A fact is material only if it “might affect the outcome of the suit under the governing law.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “[A] ‘genuine’ issue is one that could

be resolved in favor of either party.” Calero-Cerezo v. U.S. Dep’t of Justice, 355 F.3d 6, 19 (1st

Cir. 2004). The court does not weigh the facts, but instead ascertains whether the “evidence is such

that a reasonable jury could return a verdict for the nonmoving party.” Leary v. Dalton, 58 F.3d



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         Babin uses both the terms dolo and duress to address what appears to be a duress claim. See
Docket No. 25 at 1–2, 5; Docket No. 75 at 1; Docket No. 77 at 8, 14. Defendants, at times, also address
Babin’s dolo claim as if it were a duress claim and not a fraud claim. See Docket No. 68 at 1–2.
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748, 751 (1st Cir. 1995). Under Rule 56(a), summary judgement is proper if “the pleadings,

depositions, answers to interrogatories, and admissions on file, together with the affidavits, if any,

show that there is no genuine issue as to any material fact.” Donate-Romero v. Colorado, 856 F.2d

384, 386 (1st Cir. 1988).

         “[A] party seeking summary judgment always bears the initial responsibility of informing

the district court of the basis for its motion, and identifying those portions of the [evidence] . . .

which it believes demonstrate the absence of a genuine issue of material fact.” Crawford-El v.

Britton, 523 U.S. 574, 600 n.22 (1998) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986)); Fed. R. Civ. P. 56(c)(1). Once this threshold is met, the burden shifts to the nonmoving

party, who “must do more than simply show that there is some metaphysical doubt as to the

material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). The

court draws inferences and evaluates facts “in the light most favorable to the nonmoving party,”

though an evaluating court may not “superimpose [its] own ideas of probability and likelihood (no

matter how reasonable those ideas may be) upon the facts of the record.” Leary, 58 F.3d at 751;

Greenburg v. P.R. Maritime Shipping Auth., 835 F.2d 932, 936 (1st Cir. 1987).

                                                   BACKGROUND

         Except where otherwise noted, the following facts are drawn from the parties’ Local Rule

56 2 submissions: LaSalle’s Statement of Uncontested Facts (“LSUF”), Docket No. 70, and Babin’s

response to LaSalle’s Statement of Uncontested Facts (“RSUF”), Docket No. 77. The facts giving

rise to this case are largely undisputed.



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          Local Rule 56 is designed to “relieve the district court of any responsibility to ferret through the
record to discern whether any material fact is genuinely in dispute.” CMI Capital Market Inv. v. Gonzalez-
Toro, 520 F.3d 58, 62 (1st Cir. 2008). It requires a party moving for summary judgment to accompany its
motion with a brief statement of facts, set forth in numbered paragraphs and supported by citations to the
record, that the movant contends are uncontested and material. D.P.R. Civ. R. 56(b), (e). The opposing
party must admit, deny, or qualify those facts, with record support, paragraph by paragraph. Id. 56(c), (e).
The opposing party may also present, in a separate section, additional facts, set forth in separate numbered
paragraphs. Id. 56(c). While the “district court may forgive a party’s violation of a local rule,” litigants
ignore the Local Rule “at their peril.” Mariani-Colón v. Dep’t of Homeland Sec. ex rel. Chertoff, 511 F.3d
216, 219 (1st Cir. 2007).
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         Confesor LaSalle and his wife purchased Antonio Babin’s stake in Angeles Divinos Home

Health Services, Inc. (“Angeles Divinos”) for $225,000 in June of 2012. LSUF ¶ 1. The money

was to be paid in multiple installments. Docket No. 89-1 at 2. Twenty-five thousand dollars was

to be paid at the signing of the original contract, with another $25,000 to follow one year later, and

then the remaining $162,000 to follow one year after that (two years after the signing of the original

contract). Id. The original contract further stated “[t]hat the shares represented by the certificate

transferred here have not been seized, pledged, mortgaged, or encumbered in any way or form.”

Id. On June 24, 2013, Antonio Babin was arrested in Arkansas on drug-related charges. RSUF ¶ 8.

Defendants admit that they were contractually obligated to pay Antonio Babin $25,000 as part of

the sale of Angeles Divinos on June 26, 2013. LSUF ¶¶ 1, 6. Defendants also do not deny that they

failed to make the June payment, seemingly citing Antonio Babin’s arrest as the reason for the

missed payment. LSUF ¶¶ 7–8.

         After his arrest, Antonio Babin gave his sister Maria Babin power of attorney so that she

could collect the missed second payment of $25,000 or the total amount remaining from the sales

contract for the shares of Angeles Divinos. RSUF ¶¶ 9–10. Maria Babin, acting as Antonio Babin’s

attorney, then hired Jamie Alcover to renegotiate the remaining payments from the sale of Angeles

Divinos. RSUF ¶ 18.

         Alcover discussed Maria Babin’s desire to amend the sales contract for Angeles Divinos

with LaSalle’s attorneys. RSUF ¶ 21. Alcover then reported back to Maria Babin that LaSalle was

willing to pay $50,000 to settle the remaining debt for the sale of Angeles Divinos. RSUF ¶¶ 24,

28. Defendants claim that their settlement proposal was less than the remaining amount due from

the original sale of Angeles Divinos because of a possible fraud issue: defendants claim that

Antonio Babin had not disclosed that he had sold part of Angeles Divinos to Robert Campbell

before selling the company to defendants. RSUF ¶¶ 24–25.

         Antonio Babin believes that Alcover lied to his sister when relaying the information

regarding the offer to settle the debt for $50,000 because Alcover told her that LaSalle might file

for bankruptcy. Docket No. 69-1 at 8. Defendants claim that Maria Babin was mistaken as to which
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party was possibly going bankrupt. LSUF ¶¶ 36–38. From the materials presented to the court, it

is unclear whether any party actually did file for bankruptcy.

          Maria Babin signed the amended contract after consulting with her sister, Mercedes Babin.

RSUF ¶ 32. On the same day that she signed the amended contract, Maria Babin realized that

Alcover had “deceived her” because he had also been paid a fee by Confesor LaSalle. Docket No.

69-2 at 6, 9.

                                                     DISCUSSION

         Antonio Babin claims that there was no consideration for the amendment of the contract

such that a binding new contract was never created. Docket Nos. 25 ¶ 22; 75 at 6–7. Babin further

alleges that even if the amended contract did have consideration, it should be nullified because it

was signed under duress. 3 Docket Nos. 25 ¶¶ 22–23, 34–35; Docket No. 75 at 4–6. Defendants

have moved for summary judgment on Babin’s breach of contract and duress claims although they

have not addressed his claim that the amended contract is void for lack of consideration. Docket

No. 68 at 2, 9.

         Puerto Rico law dictates that a valid contract is created through: “(1) the consent of the

contracting parties; (2) a definite object which may be the subject of the contract; [and] (3) the

cause for the obligation which may be established,” otherwise known as consideration. P.R. Laws

Ann. tit. 31, § 3391; see Luis Santiago v. Santiago, 731 F. Supp. 2d 202, 207 (D.P.R. 2010) (“A

contract regardless of its type ‘has three elements: consent, a definite (and legal) object, and

consideration.’” (quoting Citibank Glob. Markets, Inc. v. Rodriguez Santana, 573 F.3d 17, 23–24

(1st Cir. 2009))). For the consideration to be valid, it must be the product of a bargained-for

exchange. Id. (quoting P.R. Power Auth. v. Action Refund, 472 F. Supp. 2d 133, 137 (D.P.R. 2006)).

This exchange is defined as “something . . . done, foreborne, suffered, or undertaken by one party

at the request of another, which is made the foundation of the promise of that other.” Action Refund,



         3
         Babin continually uses the terms “dolo” and “duress” interchangeably. See Docket No. 75 at 1. I
will address the possible grounds for a dolo claim, also known as deceit, after I analyze Babin’s duress
claim.
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472 F. Supp. 2d at 138 (quoting Sir William Markby, Elements of Law 307–17 (6th ed. 1905)). “As

a general principle of contract law, ‘courts will not inquire into the adequacy of consideration in

an agreed-upon exchange, unless that consideration is so grossly inadequate as to shock the

conscience of the court.’” Burk v. Paulen, 100 F. Supp. 3d 126, 133 (D.P.R. 2015) (quoting Action

Refund, 472 F. Supp. 2d at 64)).

         Furthermore, duress and intimidation are synonyms according to Puerto Rico law. Dopp v.

HTP Corp., 947 F.2d 506, 510 (1st Cir. 1997). And consent to a contract will be deemed void if it

was the product of error, violence, intimidation, or deceit, even if the intimidation was employed

by an individual who was not party to the contract. 31 L.P.R.A. §§ 3404, 3407; Garita Hotel Ltd.

P’ship v. Ponce Fed. Bank, F.S.B., 954 F. Supp. 438, 450 (D.P.R. 1996), aff’d sub nom. Garita

Hotel Ltd. P'ship v. Ponce Fed. Bank, 122 F.3d 88 (1st Cir. 1997).

         Antonio Babin did not specifically plead duress in his amended complaint; instead, he

seemingly used the term “dolo” in its place. See Docket No. 25 ¶ 22. However, in his opposition

to defendants’ motion for summary judgment, he states that his sister, Maria Babin, who was acting

as his attorney at the time, signed the amended contract under duress. Docket No. 75 at 1–2. Babin

also continually refers to his duress claim in his response to LaSalle’s Statement of Uncontested

Facts. See LSUF ¶¶ 21–22, 24, 33–34. Defendants contend that Maria Babin was never “misled,

threatened, or duped” into signing the amended contract. Docket No. 68 at 9, 11. Antonio Babin

claims that there was duress because defendants breached their obligation of good faith by falsely

stating that Angeles Divinos was on the verge of bankruptcy in order to convince Maria Babin to

sign the amended contract. Docket No. 75 at 5.

          “Intimidation exists when one of the contracting parties is inspired with a reasonable and

well-grounded fear of suffering an imminent and serious injury to his person or property, or to the

person or property of the spouse, descendants, or ascendants.” See 31 L.P.R.A. § 3406; Soto v.

State Chemical Sales Co. Intern., Inc., 719 F. Supp. 2d 189, 193 (D.P.R. 2010). An intimidation

claim has five elements: “a state of apprehension that compels consent, the apprehension is

provoked by the actions of another person, the apprehension must be rational [or reasonable] and
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well-grounded, the apprehension refers to an injury that the subject will suffer unless he or she

enters into the contract, and the intimidatory actions must be antijuridical.” Garita Hotel, 954 F.

Supp. at 450. In assessing the third prong—whether the apprehension caused by the threat is well-

grounded—the court should consider “the means with which the alleged intimidator could carry

out his or her threat.” Id. at 451.

         If a party has numerous opportunities to consider the details of a contract, along with the

time and resources to calmly consider his options, that will weigh heavily against a finding of

intimidation. Soto, 719 F. Supp. 2d at 193. Seemingly willful negligence on behalf of the party

claiming intimidation will also weigh against finding intimidation. See Sanchez-Santiago v. Guess,

Inc., 512 F. Supp. 2d 75, 79 (D.P.R. 2007) (no intimidation when plaintiff was not prevented from

seeking assistance to understand the wording of a contract that she admittedly did not comprehend,

when plaintiff did not pose any questions about the contract to any of the attorneys present at

signing, and when her main evidence that she had been intimidated was that plaintiff claimed the

atmosphere at the contract signing made her feel “rushed”). As Antonio Babin is seeking to nullify

an otherwise valid contract, he bears the burden of proving that duress occurred. Garita Hotel Ltd.

P’ship, 954 F. Supp. at 450 (“Because the action for nullity is an independent cause of action, the

burden of proof is on the party alleging that the contract is null because of the existence of any of

the vices of consent.”).

         Antonio Babin’s duress claim fails the well-grounded apprehension test under Garita for

determining whether a threat should cause duress because it appears from the pleadings that

Alcover did not have the means to make Angeles Divinos declare bankruptcy. Garita Hotel Ltd.

P’ship, 954 F. Supp. at 451. Alcover mentioned to Maria Babin that Antonio Babin could receive

no further compensation for the sale of Angeles Divinos because Babin had possibly engaged in

fraud when he originally sold the company to LaSalle. RSUF ¶¶ 26–27. Alcover also mentioned

to Maria Babin that Angeles Divinos might have to declare bankruptcy because of Antonio Babin’s

fraudulent conduct. RSUF ¶ 30, 36; Docket No. 69-2 at 5. However, even if this is viewed as a

threat to the Babins, Alcover was Maria Babin’s attorney; he was not an employee or officer of
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Angeles Divinos with power over its assets. RSUF ¶ 18. As such, the Babins could not have had a

well-grounded fear that Alcover had the means to make Angeles Divinos declare bankruptcy.

         Furthermore, Maria Babin had time to consult with family members regarding the terms of

the amended contract and the situation she was facing. RSUF ¶¶ 17, 32. She also had time to get a

second opinion on the terms of the contract but did not because it simply never occurred to her to

do so. Docket No. 70-10 at 22. In Sanchez-Santiago, the plaintiff was given the opportunity to seek

assistance when reviewing a contract and did not ask questions about the contract that she was

signing because she was in a hurry. Sanchez-Santiago 512 F. Supp. 2d at 80. The court found that

the plaintiff was not subjected to duress but rather acted negligently because she was not subjected

to compulsion and did not ask any questions about the contract before signing it. Id. at 79–80.

Here, Maria Babin was not subjected to compulsion, and she seems to have misunderstood which

party, either LaSalle or Angeles Divinos, was under the threat of bankruptcy:

         Q. Who told you Angeles Divinos was the one that was going bankrupt?
         A. Was going to declare bankruptcy? Jamie Alcover.
         Q. But at that point did you know that the party that owed . . . the party that had to
         pay the money was Confesor LaSalle and not Angeles Divinos?
         A. I understand what you’re saying. But at that point in time, no. I wasn’t separating
         them. I thought in those one are the same. I can tell you that I thought that Confessor
         LaSalle, if Angeles Divinos was bankrupt I don’t know that is not Angeles Divinos.
         I’m thinking “this man is the owner and if this goes bankrupt then there is no
         money.”

Docket No. 70-10 at 25. Even if she did believe that it was LaSalle rather than Angeles Divinos

who may be at risk of bankruptcy, she made no effort to clarify her muddled conception of the

state of affairs or confirm with LaSalle, who was present at the signing of the amended contract,

that he was in fact going bankrupt before signing the amended contract. LSUF ¶ 47. Therefore,

because Maria Babin’s actions seem just as negligent as the plaintiff’s actions in Sanchez-Santiago,

and because Antonio Babin’s only evidence for his duress claim is Alcover’s suggestion or

incredible threat that Angeles Divinos might go bankrupt, no reasonable jury could find that the

contract was signed under duress. RSUF ¶¶ 37, 42.
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         For much the same reasons, Antonio Babin has failed to raise a genuine issue that the

amended contract is void for “dolo.” Under Puerto Rico law, fraud that affects a contracting party

is known as “dolo” or deceit. P.C.M.E Commercial SE v. Pace Membership Warehouse, 952 F.

Supp. 84, 92 (D.P.R. 1997). There is dolo in the formation of a contract when by “words or

insidious machinations on the part of one of the contracting parties the other is induced to execute

a contract which without he would not have made.” Id.; see 31 L.P.R.A. § 3408. Furthermore, the

Supreme Court of Puerto Rico has made it clear “that good faith on the part of contracting parties

is ‘always presumed,’ and one seeking to rely on [deceit or] dolo to invalidate a contract must rebut

the presumption of good faith with evidence of intentional fault or bad faith.” Huongsten

Production Import and Export Co. Ltd. v. Sanco Metals LLC, 810 F. Supp. 2d 418, 428 (D.P.R.

2011) (quoting Citibank Global Markets, Inc. v. Rodriguez Santana, 573 F.3d 17, 29 (1st Cir.

2009)). Thus, a claim of dolo must be proven by a preponderance of the evidence. Portugues-

Santana v. Rekomdiv Int’l, 657 F.3d 56, 62 (1st Cir. 2011); Garcia Lopez v. Mendez Garcia, 2 P.R.

Offic. Trans. 481 (1974) (“[W]e do not see a fundamental difference between the non presumption

of fraud and the general rule requiring preponderance of evidence to establish a fact.”)

         Importantly, Antonio Babin does not refute defendants’ characterization of events: when

Maria Babin first contacted Alcover, she told him that her brother “desperately needed $50,000”

for a criminal attorney. Docket No. 25 ¶ 17. Maria Babin then signed the amended contract, not

out of fear of a looming bankruptcy, but because she had to take whatever defendants were offering

in order to help her brother. RSUF ¶ 42. In fact, upon first being notified by Jamie Alcover that

defendants were offering $50,000 in the amended contract, Maria Babin did not appear to be

desperate to sign the amended contract; instead she responded to Alcover enthusiastically saying

“That’s great, but do you think you could get a little more, seventy-five thousand dollars,

something like that?” RSUF ¶ 28. Indeed, Maria Babin only seems to have made her decision to

sign the amended contract after her sister Mercedes Babin, told her to do so. LSUF ¶ 32; RSUF ¶

32. Thus, no reasonable jury could conclude the amended contract was induced by deceit.
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         Antonio Babin also contends that the amended contract is null and void for lack of

consideration. Docket No. 25 ¶¶ 22, 34–35. Defendants contend Babin’s acceptance of a lower

amount was given in exchange for a number of benefits, including the earlier receipt of $50,000

needed for attorney’s fees and the resolution of the risk that the original agreement would be

nullified because Babin had also sold shares to Campbell. Docket No. 68 at 10–12, 14. The record

is clear, however, that the amended contract was the product of a bargained-for exchange;

therefore, consideration was present.

         In the amended contract, the original $225,000 purchase price of Angeles Divinos was

negotiated down to $88,000 in exchange for an earlier payment than had originally been contracted

for. Docket No. 25 ¶¶ 13, 29. By signing the amended contract (at the request of Antonio Babin),

defendants gave up their legal right to pay at a later date. See id. Thus, a legal detriment was

suffered by one party at the request of another in return for the promise of a release from a legal

obligation; this exchange of a promise for a performance is valid consideration. See Action Refund,

472 F. Supp. 2d at 138.

         Antonio Babin contends that applying the parol evidence rule dictates that there was no

consideration for the amended contract because the clear wording of the amended contract makes

no mention of any consideration being given in exchange for the reduced price of Babin’s shares

of Angeles Divinos. Docket No. 75 at 6. Babin essentially claims that the court must look only to

the amended contract, and as the word “consideration” does not appear within its pages, then the

court must assume that no consideration was proffered. See id. However, Puerto Rico law requires

that the court must assume the exact opposite. In Puerto Rico, consideration is presumed to exist

in contracts unless a debtor proves to the contrary. 31 L.P.R.A. § 3434. Thus, although Babin may

have shown that the word “consideration” does not appear in the amended contract, he has not

addressed the fact that, by agreeing to pay at an earlier date, defendants suffered a legal detriment

as part of a bargained-for exchange. See Docket No. 75.

         Furthermore, “[t]he Supreme Court of Puerto Rico has long held that ‘consideration’

includes any lawful ‘benefit[ ] which one party . . . obligates himself to confer upon’ the other.”
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Caribbean Seaside Heights Props., Inc. v. Erikon LLC, 867 F.3d 42, 45 (1st Cir. 2017) (quoting

Adria Int’l Grp., Inc. v. Ferre Dev., Inc., 241 F.3d 103, 107 (1st Cir. 2001)). Here, defendants

obligated themselves to pay early, and Antonio Babin benefitted by receiving $50,000—money

which Maria Babin claims Antonio Babin desperately needed to retain an attorney in his unrelated

drug case. See Docket No. 25 ¶ 17. Thus, this court is left not only with the presumption that

consideration existed in the instant case but also with clear case law counseling that the

circumstances in which the amended contract was undertaken amounted to consideration.

         As no reasonable jury could return a verdict for Babin on his lack of consideration claim,

defendants’ motion for summary judgment is granted.

                                                    CONCLUSION
         For the foregoing reasons, defendants’ motion for summary judgment is GRANTED, and

Antonio Babin’s claims are DISMISSED.

         IT IS SO ORDERED.
         In San Juan, Puerto Rico, this 12th day of July, 2018.


                                                          S/Bruce J. McGiverin
                                                          BRUCE J. MCGIVERIN
                                                          United States Magistrate Judge
